                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS

IN THE MATTER OF THE DETENTION          )
AND PROBABLE CAUSE HEARINGS FOR         )   M.J. Nos.   22-MJ-5330-JGD
THE FOLLOWING:                          )               22-MJ-5382-JGD
                                        )
(1)    LAWRENCE MICHAEL NAGLE,          )
                                        )
(2)    CHRISTOPHER NAGLE;               )
                                        )
                                        )
(3)    NELSON MORA;                     )
                                        )               FILED UNDER SEAL
(4)    JAVIER BELLO;                    )
                                        )
(5)    ANTHONY BRYSON;                  )
                                        )
                                        )
(6)    FRANTZ ADOLPHE;
                                        )
                                        )
(7)    RAYMOND KULAKOWSKI ;             )
                                        )
(8)    SOYANNA LAGES (AT LARGE);        )
                                        )
(9)    DAVID MUISE;                     )
                                        )
(10)   DAVID DELAURI;                   )
                                        )
(11)   SAVANNAH LEE BARTONE;            )
                                        )
(12)   LAWRENCE M. NAGLE SR.;           )
                                        )
(13)   ALEXANDER VILLAR;                )
                                        )
(14)   KION SHEPHERD;                   )
                                        )
(15)   MELVIN NIEVES;
                                        )
                                        )
(16)   ERICK SOLIS LOPEZ;
                                        )
                                        )
(17)   CHRISTOPHER TEJEDA;
                                        )
  (18)    EDWARD ORTIZ;                                 )
                                                        )
  (19)    JUSTIN WESTMORELAND;                          )
                                                        )
  (20)    YAIRA RAMOS-RIVERA;                           )
                                                        )
  (21)    JOSE GARCIA;                                  )
                                                        )
  (22)    ANNA BRYSON; and
                                                        )
                                                        )
  (23)    CHEVON DORCE.

                 SECOND SUPPLEMENTAL DECLARATION IN SUPPORT
                      OF DETENTION AND PROBABLE CAUSE

         I, Gregory Forestell, hereby declare and state as follows:

         1.     I am submitting this declaration to supplement and correct certain items in the

Supplemental Declaration in Support of Detention/Probable Cause of DEA Task Force Officer

Gregory Forestell dated October 30, 2022 (“Forestell October 30, 2022 Supplemental

Declaration”), which was previously submitted in these matters (22-5330, ECF Dkt. 37; 22-5382,

ECF Dkt. 5). My personal background and the background of the investigation is set forth in the

October 30, 2022 Forestell Supplemental Declaration and has not changed.

         2.     This    Declaration     concerns       two   defendants:   Justin   Westmoreland

(“WESTMORELAND”) and David Muise (“MUISE”).

         WESTMORELAND

         3.     In paragraphs 247 through 263 of the Forestell October 30, 2022 Supplemental

Declaration, I discussed facts supporting both probable cause and detention for Justin

Westmoreland (“WESTMORELAND”).                 In the Forestell October 30, 2022 Supplemental

Declaration, I discussed the fact that WESTMORELAND used telephone number (781) 520-3983

in furtherance of his narcotics trafficking activities. In that Declaration, however, I mistakenly


                                                   2
stated that telephone number (781) 520-3983 was subscribed in WESTMORELAND’s name. See

¶ 261.

         4.    During the investigation, I believe that WESTMORELAND was intercepted using

three different telephone numbers to communicate with Javier BELLO (“BELLO”), who was

using TT-4. The three telephone numbers that I believe that WESTMORELAND used are: (781)

520-3983; (339) 338-3088; and (980) 899-2236.

         5.    The last telephone number listed, (980) 899-2236, was subscribed in

WESTMORELAND’s name. The subscriber address for this telephone number is a street address

in Saugus, Massachusetts that I believe is associated with WESTMORELAND as it is the same

residential address that appears for WESTMORELAND in his criminal record, which is

maintained by the Commonwealth of Massachusetts Department of Criminal Justice Information

Services and is the same residential address that is listed for WESTMORELAND on a Saugus

Police Department arrest report dated April 14, 2018.

         6.    As discussed in paragraphs 250 through 260 of the Forestell October 30, 2022

Supplemental Declaration, I believe that WESTMORELAND used telephone number (980) 899-

2236 to order 100 pills of controlled substances from BELLO and that SOLIS delivered the pills

to WESTMORELAND at Target Location #19.

         7.    WESTMORELAND, however, was not listed as the subscriber for telephone

number (781) 520-3983, which I believe was also used by him.

         8.    However, the remainder of the information set forth in paragraph 261 of the

Forestell October 30, 2022 Supplemental Declaration is accurate. That is, during the investigation,

an investigator positively identified WESTMORELAND as being at a location where BELLO had

directed the user of telephone number (781) 520-3983 to go, and BELLO has referred at times to



                                                3
the user of (781) 520-3983 in other intercepted communications as “Wes,” “Westie,” and “West.”

For these reasons, I continue to believe that WESTMORELAND was the user of telephone number

(781) 520-3983.

       9.     Moreover, I have listened to the intercepted communications over TT-4 that

involved the user of telephone number (980) 899-2236, which is subscribed in

WESTMORELAND’s name.             I then compared the voice of that user to intercepted

communications involving the user of (781) 520-3983, which, as stated, I believe was also used

by WESTMORELAND. Based upon my review of these recordings, I believe that same individual

used each of these telephones to communicate with BELLO on TT-4. For the reasons stated above,

I believe that individual was WESTMORELAND. (Additionally, I also compared the voice of the

user of telephone number (781) 520-3983 and telephone number (980) 899-2236 to the voice of

the user of telephone number (339) 338-3088.         From that comparison, I concluded that

WESTMORELAND was also the user of (339) 338-3088).

       Additional Facts Concerning WESTMORELAND’s Criminal Activity

       10.    As discussed in the Forestell October 30, 2022 Supplemental Declaration, I

executed an affidavit in support of a criminal complaint for various individuals, including

WESTMORELAND on October 21, 2022 (the “Forestell October 21, 2022 Complaint Affidavit”).

In paragraphs 201 through 203 of the Forestell October 21, 2022 Complaint Affidavit, I described

certain intercepted calls that supported my belief that, on May 1, 2022, BELLO directed SOLIS to

deliver oxycodone pills containing fentanyl to WESTMORELAND. In paragraphs 204 through

207 of the Forestell October 21, 2022 Complaint Affidavit, I described certain additional

intercepted calls that supported by my belief that, on May 3, 2022, WESTMORELAND returned




                                               4
to SOLIS 300 counterfeit oxycodone pills containing fentanyl and received from SOLIS 500

different counterfeit oxycodone pills containing fentanyl.

       11.       I did not set forth all of the intercepted calls involving WESTMORELAND’s drug

trafficking in the Forestell October 21, 2022 Complaint Affidavit nor did I include all of the

intercepted calls involving WESTMORELAND’s drug trafficking in the Forestell October 30,

2022 Detention Declaration. In this Declaration, I wish to bring to the court’s attention one

additional call that took place on May 1, 2022, in which I believe that WESTMORELAND, who

was on release conditions for a state criminal case, discussed the fact that he needed to continue to

sell counterfeit oxycodone pills containing fentanyl in part because his criminal trial was scheduled

to occur soon.

       May 1, 2022: WESTMORELAND Discussed His Desire to Continue Selling Counterfeit
       Oxycodone Pills Containing Fentanyl Because His Criminal Trial Was Pending

       12.       At 11:09 p.m. on May 1, 2022, BELLO used TT-4 to call (781) 520-3983 and spoke

with WESTMORELAND. I believe that in this call BELLO informed WESTMORELAND that

the counterfeit pills oxycodone had been manufactured in the same manner as previous batches of

counterfeit pills that BELLO had supplied to WESTMORELAND (“Bro, there’s no changed

batch, bro.”). BELLO noted that it was to be expected that new batches would be made and that,

as a result, a few of the pills might not be up to quality, but reassured WESTMORELAND that the

manufacturing formula remained the same (“Obviously, them shit gets ran out and new ones get

made. There’s a probably a few that are no good, but everything is still the same.”).

WESTMORELAND stated that he understood but expressed concern that his drug customers did

not like the pills and might stop buying the pills from him (WESTMORELAND) (“I just don’t

want niggas to stop fucking with me, you feel me, over that shit.”).             BELLO reminded

WESTMORELAND that the pills were not pharmaceutical-grade and that some of the pills might

                                                 5
not be any as potent as others (“Bro, they’re fake, bro. At the end of the day, not everything will

be perfect.”). WESTMORELAND replied that he understood but did not know how to respond

to customers who were complaining about the quality of the pills (“Obviously, but I don’t even

what to say to niggas, they’re like ‘Yo, they’re not hittin.’”).              BELLO advised that

WESTMORELAND tell his customers that the pills were counterfeit and to be patient (“Like, you

tell them, ‘They are fake, bro. Next ones will be better.’”). WESTMORELAND stated that he

understood, but was concerned that his customers were going to be concerned that any new pills

they got were going to be from the same batch as the previous poorly-made pills (“Yeah, nigga,

but you feel me? Then I got this nigga [unintelligible] saying it’s the same batch. That’s what I’m

saying. Niggas gotta sell out quick out of these shit, bro, and get new ones.”). BELLO agreed that

it might take some time for the larger customers to distribute the current batch of counterfeit

oxycodone pills (“I mean, yeah, when you grab 20K or 10K or 15K. You know. Them shit don’t

go in two days.”).

           13.        It was at this point in the conversation that I believe that WESTMORELAND

referred to his pending state case for which he was at the time on release conditions.

WESTMORELAND informed BELLO that he needed at least 5,000 counterfeit Oxycodone pills

to sell because his trial was coming up soon and that he could not sell the pills that BELLO had

distributed to WESTMORELAND (“I get it nigga, but I told you bro. I’m gonna need fucking at

least 5K. I got trial coming up bro. And I can’t grab these, bro. These niggas are saying all this

shit.”).

           14.        At that point, BELLO replied that WESTMORELAND had nothing to worry about

(“Bro, you’ll be good.”). BELLO told WESTMORELAND to wait a couple of days to see if he

continued        to    receive   complaints   and   promised   that   he   (BELLO)   would   permit



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WESTMORELAND to return the pills for a fresh batch if there continued to be problems (“Give

it a few days. Them shits will get done. I already told the nigga, ‘Give them back, if you want to

give them back.’” … Bro, you’ll be smooth. Just give them back. I’ll give you a fresh new 500. It’ll

be alright.”).

       15.       As discussed in paragraphs 204-207 of the Forestell October 21, 2022 Complaint

Affidavit, on May 3, 2022, I believe that WESTMORELAND returned 300 counterfeit oxycodone

pills containing fentanyl to SOLIS and received from SOLIS 500 different counterfeit oxycodone

pills containing fentanyl.

       Additional Facts Concerning WESTMORELAND’s Pending State Criminal Case

       16.       As discussed in paragraph 262 of the Forestell October 30, 2022 Detention

Declaration, I am aware that WESTMORELAND was on release conditions for a pending criminal

case in Lynn District Court at the time that he engaged in the criminal conduct detailed in the

Forestell October 30, 2022 Detention Declaration and the criminal conduct described in the

Forestell October 21, 2022 Complaint Affidavit. That pending state criminal case involves a 2020

charge for possession of a firearm, possession with intent to distribute Class B Controlled

Substance, Possession with intent to distribute Class D controlled substance, possession of

ammunition, and improper storage of a firearm.

       17.       On November 4, 2022, I learned from an Assistant District Attorney with the Essex

District Attorney’s Office that on that date a judge in Lynn District Court issued an arrest warrant

for WESTMORELAND and that a motion to revoke WESTMORELAND’s conditions of release

has been filed in the pending state criminal case.




                                                 7
       MUISE

       18.     In the Forestell October 30, 2022 Supplemental Declaration, I stated that MUISE

has a 2009 conviction for possession with intent to distribute a Class B controlled substance, for

which he was sentenced to eighteen (18) months incarceration. However, I had since learned that

this conviction was vacated and dismissed with prejudice. (On November 1, 2022, this Court

released MUISE on conditions.)



       I declare under penalty of perjury that the foregoing is true and correct. 28 U.S.C. § 1746.

       Dated: November 6, 2022



                                                            _________________________
                                                            GREGORY FORESTELL
                                                            Task Force Officer
                                                            Drug Enforcement Administration




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